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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

 Case No.        CV 20-5140 MWF (PVCx)                                      Date: August 19, 2020
 Title       Patrick and Geoff Investments Inc. v. The Hartford, et al.


 Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge
                    Rita Sanchez                                        Not Reported
                    Deputy Clerk                                  Court Reporter / Recorder

         Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                  Not Present                                        Not Present

 Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE

       A review of the docket in this action reflects that the Complaint was filed on
 June 10, 2020. (Docket No. 1). Pursuant to Federal Rules of Civil Procedure,
 Rule 4(m), the time to serve the Complaint will expire on September 8, 2020.

       The Court ORDERS Plaintiff to show cause why this action should not be
 dismissed for lack of prosecution. In response to this Order to Show Cause, the
 Court will accept the following no later than SEPTEMBER 8, 2020.

          BY PLAINTIFF: PROOFS OF SERVICE of Summons and Complaint
           on Defendants.

        Any request by Plaintiff for an extension of time beyond the time limit set
 forth in Fed. R. Civ. P. Rule 4(m) will only be granted upon a showing of good
 cause, including, but not limited to, the date service was tendered to a process
 server and the date service was first attempted by the process server. Failure to
 timely file a Proof of Service, or request an extension of time to do so, will result
 in the dismissal of this action on SEPTEMBER 9, 2020.

                  AND/OR

          BY DEFENDANTS: RESPONSES TO THE COMPLAINT
           (“Response”) by Defendants.



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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No.        CV 20-5140 MWF (PVCx)                              Date: August 19, 2020
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                  OR

          BY PLAINTIFF: APPLICATIONS FOR CLERK TO ENTER
           DEFAULT as to Defendants who have not timely responded to the
           Complaint.

       No oral argument on this matter will be heard unless otherwise ordered by
 the Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand
 submitted upon the filing of the response to the Order to Show Cause. Failure to
 respond to the Order to Show Cause by September 8, 2020 will result in the
 dismissal of this action.

         IT IS SO ORDERED.

                                                                   Initials of Preparer: RS/sjm




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